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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

ADRIAN BACA,

               Plaintiff,

v.                                                          No.: 1:17-cv-00149 KG/KK

STATE FARM INS. CO.,

               Defendant.

                                  ORDER OF DISMISSAL
       THIS MATTER having come before the Court upon the parties’ Motion to Dismiss, the

Court having reviewed the pleadings and being fully advised in the premises, FINDS that the

Motion is well-taken and should be granted.

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Complaint filed

herein and all remaining claims that were or which could have been asserted in this matter are

hereby dismissed, with prejudice, each party to bear its own costs and attorney’s fees.




                                                     ____________________________________
                                                     UNITED STATES DISTRICT JUDGE
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Submitted by:

GUEBERT BRUCKNER P.C.



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